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                           UNITED STATES DISTRICT CO URT
                           SO UTHERN DISTRICT OF FLO RIDA
                      CASE NO.IZ-I4O6S-CR-MARTINED LYNCHISIIS)
   UNITED STATES O F AM ERICA,
         Plaintift                                                      c'.1.
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   SAMTANNA RODERICK BURGESS,
                                                                            S'f'Evf:'N M,LARlIt.!.Or
                                                                                                   ?E
         Defendant.                                                          t-itEi?K U.S.D!$.5T.C)'.
                                                                           S.D.$3FFL,A. - Fl'.13l67RCFJ
                                        I
                       REPORT AND RECOM M ENDATION O N
                  APPRO PRIATENESS O F COUNSEL'S CJA VO UCHER
                     FOR ATTORNEY'S FEES W OUCHER #FLS 12-18981
         THIS CAUSE having com e on to be heard upon the aforem entioned CJA Voucher

   as referred bythe DistrictCoud and thisCoud having review ed the voucher, M r.Reagan's
   Ietterofexplanation,the attached time records setting forth the tasks performed and the

  tim e devoted to each task, and this Coud otherwise being advised in the prem ises

  recom m ends to the DistrictCourtas follows:

         1.     Counselforthe Defendantseeksreim bursem entof6.3hoursofin-courttime

  at the rate of $125.00 an hour for a totalsum of $787.50. Mr. Reagan seeks
  reimbursementof118.8 hoursofout-of-coud timeatthe rateof$125.00anhourforatotal
  of $14,850.00. He claims travelexpenses in the amountof$918.58 and attaches
  explanations as to those travelexpenses. Finally,his 'dotherexpenses''are in the am ount

  of$24.80.The receiptattached from Office Depotappearsto be in relationto purchase
  ofmiscellaneousbindersforthe case.The CJA Administratorhasadjustedthe hoursand
  am ounts as m ore padicularly reflected on the face of the voucher. This Coud has

  accepted those adjustments in making itsdetermination.
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                This Coud has reviewed the voucher, the tim e records attached as

   referenced above,as wellas M r.Reagan's letterofexplanation concerning the case in

   general.This Coud conducted aIIofthe pretrialproceedings in this case and istherefore
   fam iliarwith the m atters as they relate to the DefendantBurgess and his co-defendants.

         3.     This case originated by way of a Crim inalCom plaint. The Defendant

   appeared forhis initialappearance on thatCom plaintbefore this Courton Septem ber11,

   2012. Counselforthe Defendant,M r.Reagan,was appointed as Crim inalJustice Act

   counselby O rderof Septem ber13,2012. This Courtconducted a Detention Hearing on

   Septem ber18,2012 and detained the DefendantBurgess.

         4,     The Indictmentwas returned on September20,2012 and the Defendant

   Burgesswasarraigned on thatIndictm entbeforethis Courton Septem berzl,2012 There.




   have beenseveraldiscovery responsesaswellasnoticesofexpedw itnesstestimonyfiled

   by the governm entin this case.This Coud notes according to the docketthatthere were

   atIeastseven discovery responsesfrom the governm entin this m atterasto the Defendant

   Burgess.
         5.     A Superseding Indictm entwas returned on Novem ber 15,2012 and the

   Defendantwas arraigned on thatSuperseding Indictmentby this Courton Novem ber29,

   2012. O n orabout February 11,2013,the Defendant Burgess executed a W aiver of

   Indictm entand a Superseding Inform ation was filed againsthim .This Courtarraigned the

   DefendantBurgess on thatSuperseding Inform ation on February 11,2013.O n thatsam e

  date,a PleaAgreem entand Stipulated FactualBasiswere entered into bythe governm ent

  and the Defendant Burgess and his counsel. The docketreflects thatJudge M adinez

  conducted the change ofplea hearing and accepted the Defendant's plea ofguilty to the

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   charge in the Superseding lnformation w hich was know ingly possessing a stolen firearm ,

   in violation ofTi
                   tle 18,United States Code,Sections 922(),924(a)(2)and 2. The
   Defendantw assentenced byJudge M adinezon M ay 9, 2013toa periodofei
                                                                      ghty-four(84)
   m onths incarceration in the Bureau ofPrisonsto be followed by three years ofsupervised

   release.

          6.     There were no extensive evidentiary hearings in this m atter. There were

   motionsforinvestigative funds/exped funds.

          7.     This is an adm inistrative decision as opposed to an adversarialproceeding

   asdelineated in United States v-Griccs,240 F.3d 974 (11thcir.2001).Additionally,itis
   notnecessary forthis Courtto conductan evidentiary hearing since this Coud conducted

   allofthe pretrialproceedings.

          8.    The attorney'sfeessoughtby M r.Reagan exceed the statutorycap setfodh

   in 18 U.S.C.j3006A(d)(3). This Courtmustdetermine whetherthere is justification to
   waiveorexceedthestatutorycapof$9,700.00.Inmakingsuchadetermination,thisCoud
   m ustdeterm ine ifthe m atterwas 'dextended''or''com plex''as defined inthatstatute and the

   applicable case Iaw .

         9.     An ''extended'' case is one requiring m ore tim e than norm alundersim ilar
  facts and circum stances, A ''com plex''case is defined as one involving facts so unusual

  as to justify the expenditure ofmore time,skilland effod than the normalcase would
   require. See Easpn v.United States,2010 W L 5575741 (S.D.Fla.2010)and United
   States ofAmerica v.Moreira,2009W L 362095 (S.D.Fla.2009).
         10.    This case proceeded in a norm alfashion. As m entioned previously,there

  were no extensive hearings nor evidentiary issues to be decided by this Coud. The

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   Defendant's initialappearance,detention hearing and three arraignm ents are the sole

   hearings thatthis Courtcan recallin this m atter. Itappears as though Judge M artinez

   accepted the Defendant's guilty plea and then conducted the sentencing thereafteras
   referenced above. M r.Reagan's requestfor6.3 hours ofin-coud time accurately reflects
   thatthere were notextensive in-court appearances by the Defendant Burgess in this

   m atter.

          11.   The entire record does notsuppod a finding ofthis m atterbeing com plex as

   defined above. M r.Reagan is an extremely qualified crim inaldefense attorney who

   appears regularly in federalcoud in this division as wellas otherdivisions ofthis district.

   Thiscase arosefrom a l
                        dhom e invasionnwhich involved allthe defendantsoriginall
                                                                                y nam ed

   in the Com plaint. The Defendantwas taken into custody very shortly thereafterby Iaw

   enforcementwho responded to the scene.This Coud cannotdeny the factthatthere was

   extensive docum entation and discovery inthis m atteras reflected by the docketentries as

   wellas notices ofexpertw itness testim ony i
                                              fthis case had gone to trial. However, there
   is nothing in the record to suppod a finding thatthis m atterwas so highly unusualthatit

  would be necessary forthe Coud to find itto be ''com plex''as defined above. This Coud
   is bound by those decisions and definitions.

         12.    This Coud m ustalso find thatthe m atterwas not'
                                                               sextended''asdefined.The
  totaltim e involved from the Defendant's initialappearance in Septem berof2012 through

  his sentencing in M ay of 2013 does appear,on its face,to be a Iong period oftim e        .



   However,there were continuances which were granted by the DistrictCourt. Therefore,

  beginning w ith the filing ofthe Crim inalCom plaint in Septem berof 2012 through the



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   Defendant'ssentencing on M ay 9,2013, onl
                                           yeightmonthsexpired.Thiswould notjustify
   a finding ofthis case being ''extended.''

          13.    This Courtappreciates the services which w ere provided by M r Reagan to
                                                                                .



   the DefendantBurgess in this case and M r. Reagan'swillingness to serve onthe Crim inal

   Justice Act list of attorneys who regularly accept court appointm ents when there is a

   conflictwith the Office ofthe FederalPublic Defender. This Courthas stated innum erable

   tim es on the record that itm ustperform its function in this regard as a gatekeeperto

   balance outthe entitlem entofa defendantto com petentrepresentation and the ability of

   the courtappointed counselto be fully com pensated. In reviewing M r.Reagan's voucher,

   this Courtis notspecifically excluding any particularam ountoftim e devoted by him in his

   representation ofthe DefendantBurgess. However,this Courtm ustbalance the rightof

   courtappointed counselto receive adequate com pensation forsuch representationto an

   indigentdefendantwith the understanding and realization thatthere are lim ited ClA funds

   available in this districtand nationwide forpaymentofsuch services.

         14.    Itis a wellknown factand this Courthas reiterated this on the record on

   severaloccasions,thatCongress has reduced the am ountoffundsfordefenderservices

   nationw ide. This includes funds forthe FederalPublic Defenderand available funds for

   CJA counsel. This Coud m ust make certain that defense counsel is adequately

   com pensated ineach case with the understanding thatfullcom pensation willprobably not

  occur.Inaddition,thisCourtm ustm ake cedainthatsucham ountsexceeding the statutory

  cap as requested herein,are notpaid unless there is sufficientjustification underthe
  applicable case Iaw and statutory fram ework. Ifthis Coud,and othercourts,did not
  provide this gatekeeperfunction,the im pacton the availability ofCJA funds to indigent

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   defendants inthe futurewould be m uch more severe than itisunderthe presentbudgetary

   m ess in w hich we find ourselves.

          15.   In reducing the am ount sought by Mr. Reagan to the statutory cap of

   $9,700.00,thisCourtisnotcallingintoquestionanyofthetasksperformedbyMr Reagan   .



   northetim e devoted tothosetasksas setfodh in hissupplem entalm aterialfiled insuppod

   ofhis application. This Coud is sim ply m aking a determ ination thatunderthe statutory

   fram ework and definitions applicable in cases ofthis type which this Courtis required to

   follow ,this case does notm eetthe definitions ofeitherbeing ''extended''nor'com plex.''

   This Courtm ustm ake certain thatin perform ing its gatekeeperfunction, thatthere w illbe
   funds available inthe future forindigentdefendants who have notyeteven been arrested    .



   ln otherwords,we cannotdeplete alIofthe defenderfunds as we go along and then try

  to ''
      figure out'a way to com pensate counselforthose otherindigentdefendants who will

   need courtappointed counselwelldow n the road.

         16.    As a resultofthe foregoing,M r.Reagan's recovery of attorney's fees is

   Iimitedtothestatutoryamountof$9,700.00 plustravelexpensesintheamountof$918.58
  which this Courtfinds to be reasonable and properly docum ented, togetherwith other

  expensesinthe amountof$24.80,foratotalsum of$10,643.38.
         ACCO RDING LY,this Courtrecom mendstothe DistrictCourtthatthe ClA voucher

  #FLS 12-1898 be G RANTED insofaras M r.Reagan be awarded the statutory m axim um

  of$9,700.00 asreasonable attorney'sfeestogetherwithtravelexpensesinthe amountof
  $918.58and otherexpensesin the amountof$24.80,foratotalsum of$10,643.38.
         The parties shall have fourteen (14) days from the date of this Repod and
  Recommendation within which to file objections, if any,with the Honorable Jose E.

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   Madinez,the United States DistrictJudge assigned to this case. Pursuantto Federal

   RulesofCrim inalProcedure, Rul
                                e 59(b)(2),failuretofileobjectionstimelywaivesaparty's
   rightto review and bars the partiesfrom attacking on appealany Iegalrulings and factual

   findings contained herein
                           .




         DO NE AND SUBM ITTED this
                                           Z?
                                                    day ofAugust,2013,atFortPierce,
   Nodhern Division ofthe Southern DistrictofFlorida.




                                          F   K .L         ,JR.
                                          UNI           ES M A STRATE JUDG E


  Copies furnished:
  Hon.Jose E.M adinez
  Edward Reagan,Esq.
  Lucy Lara,CJA Adm inistrator
